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JAMES sTEPHEN BROWN,
Plaintiff,
V.

No. 02-2791 Ml/An

KEITH T. SIEBERT,

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Defendant.

 

ORDER DENYING PLAINTIFF’S MOTION FOR ATTORNEY’S FEES AND COSTS

 

Before the Court is Plaintiff's Motion for Attorney's Fees
and Costs, filed March l4, 2005. Defendant filed a response on
March 28, 2005. For the following reasons, Plaintiff's motion is
DENIED.

The instant case arose out of Plaintiff's apprehension and
arrest by officers of the Memphis Police Department following a
police pursuit during which Plaintiff attempted to evade the
police and eventually crashed his vehicle into a tree. In his
Complaint, Plaintiff asserted claims of excessive force pursuant
to 42 U.S.C. § 1983 as well as state law claims of assault and
battery, intentional infliction of emotional distress and
outrageous conduct, conspiracy, and negligence against all
Defendants. Prior to trial, all of Plaintiff's claims against

Defendants the City of Memphis, Mayor W.W. Herenton and Director

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of the Memphis Police Department W.E. Crews (the “Municipal
Defendants”) were dismissed.1 (See Order Granting Def. City of
Memphis' Mot. for Summ. J. and Dismissing Def. Herenton and Def.
Crews, September 30, 2004 (Docket No. 67).) Also prior to trial,
Plaintiff’s state law claims of intentional infliction of
emotional distress and outrageous conduct, conspiracy and
negligence against Defendants Davenport, Ray, Siebert, McGaughy,
and Locastro (the “lndividual Officer Defendants”) were
dismissed. (See Order Granting in Part and Denying in Part the
Mot. for Summ. J. of Defs. Davenport, Ray, Siebert, McGaughy, and
Locastro, September 30, 2004 (Docket No. 66).)

A trial was held in this case on February 14-18, 2005. At
the close of evidence, the Court granted the oral motions for
judgment as a matter of law of all of the Individual Officer
Defendants except Officer Siebert. {See Order Confirming Grant
of Oral Motions for J. as a Matter of Law by Defs. Locastro,
Davenport, Ray, and McGaughy, March l, 2005 (Docket No. 91).) On
February l?, 2005, the Jury was charged and began its
deliberations regarding Plaintiff’s two remaining claims against
Defendant Officer Siebert - excessive force under 42 U.S.C. §
1983 and assault and battery under Tennessee law. On February

18, 2005, the Jury returned a verdict finding Defendant Officer

 

l Plaintiff, in fact, conceded that the claims against
Defendants Herenton and Crews should have been dismissed in his
response to Defendants’ motion for summary judgment.

2

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Siebert liable under 42 U.S.C. § 1983 for using excessive force
in apprehending the Plaintiff, but not liable under Tennessee law
for perpetrating an assault and battery on Plaintiff.2

The Jury originally awarded $0.00 in damages regarding
Plaintiff's § 1983 claim. (Jury Verdict Form, Question No. 3.)3
The Court subsequently provided the Jury with a supplemental
instruction with respect to nominal damages and instructed the
Jury to continue its deliberations.4 The Jury then returned a

supplemental verdict awarding Plaintiff nominal damages of $1.00

 

2 Specifically, the Jury responded “yes” to the question
“[h]as the plaintiff proven by a preponderance of the evidence
that defendant KEITH T. SIEBERT used excessive force against him
on October 18, 2001, in violation of his federally protected
rights?” and “no" to the question “[h]as the plaintiff proven by
a preponderance of the evidence that defendant KEITH T. SIEBERT
is liable for assault and battery on the plaintiff?” (Jury
Verdict Form (Docket No. 86), Question Nos. 1 and 2.)

3 Specifically, in response to the question “[u]nder the
laws given to you in these instructions, state the amount of
compensatory damages, if any, that plaintiff JAMES STEPHEN BROWN
should be awarded from the defendant KEITH T. SIEBERT,” the Jury
responded as follows:

Medical Expenses: $0
Lost Wages: $O
Compensatory Damages(other

than medical expenses): $0

(Jury Verdict Form, Question No. 3.)

4 The Court’s supplemental instruction was as follows:
If you return a verdict for the Plaintiff, but find
that the Plaintiff has failed to prove by a
preponderance of the evidence that he suffered any
actual damages, then you must return an award of
damages in some nominal or token amount not to exceed
the sum of one dollar.

(February 18, 2005, Supp’l Instruction (Docket No. 101).)

3

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against Defendant Officer Siebert on Plaintiff’s § 1983 claim.
(Supp’l Jury Verdict Form (Docket No. 8?).)

Plaintiff now moves for an award of attorney's fees and
costs pursuant to 42 U.S.C. § 1988. Section 1988 provides, in

pertinent part: “[i]n any action or proceeding to enforce a

provision of section[] ... 1983 ... of this title .., the court,
in its discretion, may allow the prevailing party ... a
reasonable attorney’s fee as part of the costs ....” 42 U.S.C. §
1988(b). A party must be a prevailing party to recover an

attorney’s fee under § 1988. Hensley v. Eckerhart, 461 U.S. 424,
433 (1983). A “prevailing party” is a party that succeeds on any
significant issue in litigation and attains some of the benefit
sought in bringing suit. ld;

A plaintiff who wins nominal damages is a prevailing party
under § 1988. Farrar v. Hobby, 506 U.S. 103, 112-13
(l992)(finding the lower court erred in ruling that an award of
nominal damages did not render plaintiff a prevailing party).
Accordingly, the Court finds that Plaintiff is a prevailing party
in this case. However, having determined that Plaintiff is a
prevailing party, the Court must next determine what, if any,
attorney's fee award would be reasonable in this case. Hensley,
461 U.S. at 433 (noting that, after the Court has determined that
a party is a prevailing party, "[i]t remains for the district

court to determine what fee is ‘reasonable.'")

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The most “critical factor” in determining the reasonableness
of a fee award is “the degree of success obtained.” Farrar, 506
U.S. at 112-13 (citations omitted). When “a plaintiff has
achieved only partial or limited success, the product of hours
reasonably expended on the litigation as a whole times a
reasonable hourly rate may be an excessive amount.” ld;
(citations omitted).

Specifically, a plaintiff’s recovery of only nominal damages
affects the Court's analysis of the reasonableness of any fee
award. ld.; See also Pouillon v. Little, 326 F.3d 713, 716-17
(6th Cir. 2003)(reversing trial court's award of attorney's fees
under § 1988 where plaintiff received only nominal damages in
suit seeking compensatory and punitive damages). As the Supreme
Court observed in Farrar:

In some circumstances, even a plaintiff who formally
prevails under § 1988 should receive no attorney’s fees
at all. A plaintiff who seeks compensatory damages but
receives no more than nominal damages is often such a
prevailing party. As we have held, a nominal damages
award does render a plaintiff a prevailing party by
allowing him to vindicate his absolute right to
procedural due process through enforcement of a
judgment against the defendant. In a civil rights suit
for damages, however, the awarding of nominal damages
also highlights the plaintiff's failure to prove
actual, compensable injury. Whatever the
constitutional basis for substantive liability, damages
awarded in a § 1983 action must always be designed to
compensate injuries caused by the [constitutional]
deprivation. When a plaintiff recovers only nominal
damages because of his failure to prove an essential
element of his claim for monetary relief ... the only
reasonable fee is usually no fee at all.

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ld; (citations and internal quotation marks omitted).

Here, Plaintiff, in his Complaint, sought compensatory and
punitive damages against all Defendants. As previously noted,
all of Plaintiff’s claims against the Municipal Defendants were
dismissed prior to trial. Additionally, Plaintiff’s claims
against the Individual Officer Defendants, except for the two
remaining claims against Officer Siebert, were dismissed either
before trial or at the close of evidence in the case.

Ultimately, Plaintiff received a favorable verdict on only one of
the two claims addressed by the Jury, and received only nominal
damages regarding the claim on which the Jury found in his
favor.5 Having reviewed the record, and in light of the Supreme
Court's discussion in Farrar and the factors relevant to
determining the reasonableness of any fee award under § 1988, the
Court finds that no attorney’s fee award is appropriate in this
case. For those same reasons, the Court finds that the parties
shall pay their own costs related to this case.

For the reasons stated, Plaintiff's Motion for Attorney’s

Fees and Costs is DENIED.

 

5 Furthermore, Plaintiff has not provided a sworn affidavit
regarding the fees requested or their reasonableness, has not
provided any evidentiary support for the requested hourly rate to
be charged for those fees, did not attempt to separate out work
attributable to any of the dismissed Defendants, and has included
in his request compensation for certain clerical and other non-
legal tasks.

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So ORDERED this g/LO day of May, 2005.

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P. MCCALLZ-\
UN TED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 104 in
case 2:02-CV-02791 Was distributed by fax, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

